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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

 CITY OF ROCKFORD,

                                Plaintiff,                Case No. 3:17-cv-50107

         v.                                               District Judge Iain D. Johnston

 MALLINCKRODT ARD INC., et al.,                           Magistrate Judge Lisa A. Jensen

                                Defendants.



                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff City of Rockford and

Defendants Express Scripts Holding Company, Express Scripts, Inc., Priority Healthcare

Distribution, Inc., d/b/a CuraScript SD Specialty Distribution, Accredo Health Group, Inc., and

United BioSource Corp. n/k/a United BioSource LLC (collectively, the “Express Scripts

Entities”), by and through their respective counsel of record, file this joint stipulation of dismissal

with prejudice of all claims brought by Plaintiff City of Rockford. This dismissal is pursuant to

the terms of a settlement agreement between and among the parties.
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Dated: July 11, 2024                      Respectfully submitted,

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                                                 Curascript SD Specialty Distribution,
                                                 Accredo Health Group, Inc., and United
                                                 BioSource Corp. n/k/a United BioSource
                                                 LLC




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 11, 2024, a true and correct copy of the foregoing document

was electronically filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.

                                                        /s/ Eric C. Lyttle
                                                        Eric C. Lyttle




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